  Case 5:23-cr-50032-TLB Document 21            Filed 12/04/23 Page 1 of 1 PageID #: 46




                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

V.                                CASE NO. 5:23-CR-50032-001

DEANN ELAINE RAGLAND                                                       DEFENDANT


                                              ORDER

       Currently before the Court is the Report and Recommendation (Doc. 20) filed in

this case on December 4, 2023, by the Honorable Christy Comstock, United States

Magistrate Judge for the Western District of Arkansas. Both parties have waived the right

to object to the Report and Recommendation for the purpose of expediting acceptance of

the guilty plea in this matter. Id. at ¶ 5.

       The Court has reviewed this case and, being well and sufficiently advised, finds

that the Report and Recommendation is proper and should be, and hereby is, ADOPTED

IN ITS ENTIRETY. Accordingly, Defendant’s guilty plea is accepted. The written plea

agreement will be subject to final approval by the undersigned at sentencing.

       IT IS SO ORDERED on this 4th day of December, 2023.

                                                  _/s/ Timothy L. Brooks______________
                                                  TIMOTHY L. BROOKS
                                                  UNITED STATES DISTRICT JUDGE
